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                               Exhibit A
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                                                                Exhibit A
                                                          Served Via First-Class Mail
                                                            NAME                     ADDRESS
                                                ANDREW WARD                         ON FILE
                                                ANTHONY WANNER                      ON FILE
                                                ANTONIA MARIE ROBERTS               ON FILE
                                                ARON ALLEN MCCLAIN                  ON FILE
                                                BENJAMIN AGUILERA                   ON FILE
                                                BRIAN CHARLES POLACHEK              ON FILE
                                                BROCKLAN PLEDGER                    ON FILE
                                                CARL HAYNES                         ON FILE
                                                CELESTE WUNDERLI                    ON FILE
                                                CHARLSON GAINES                     ON FILE
                                                CHERYL HINES                        ON FILE
                                                CHRIS FUNK                          ON FILE
                                                CHRISTINA BESSE                     ON FILE
                                                CHRISTOPHER ALLEN JOHNSON           ON FILE
                                                CHRISTOPHER MASSEY                  ON FILE
                                                CHRISTOPHER PEARSON                 ON FILE
                                                CHRISTOPHER SMITH                   ON FILE
                                                CORDELL BARTRUM                     ON FILE
                                                DALE ARMITAGE                       ON FILE
                                                DAN WOODS                           ON FILE
                                                DANIEL RIVERA                       ON FILE
                                                DOMINIC ALLAN MARKS                 ON FILE
                                                DOUG BEATY                          ON FILE
                                                ERIC RIGBY                          ON FILE
                                                ERNEST TURBESSI JR                  ON FILE
                                                ERVIN CANIGUR                       ON FILE
                                                EVAN LUCIE                          ON FILE
                                                EVELYN HUERTAS                      ON FILE
                                                GURINDER SINGH                      ON FILE
                                                HECTOR MANUEL HARO AVILA            ON FILE
                                                ISABEL VALENTIN                     ON FILE
                                                JASON KRUK                          ON FILE
                                                JASON SIMS                          ON FILE
                                                JEFF MCCOURT                        ON FILE
                                                JEREMY LAWN                         ON FILE
                                                JESSICA YU                          ON FILE
                                                JOHN MICHAEL LEWIS                  ON FILE
                                                JOSE MARTINEZ                       ON FILE
                                                JOSEFA GOMEZ                        ON FILE
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                                                                Exhibit A
                                                          Served Via First-Class Mail
                                                             NAME                    ADDRESS
                                                JOSHUA A EMERALD                    ON FILE
                                                JOSHUA SUMMERS                      ON FILE
                                                JULIE SEEL                          ON FILE
                                                KAY HERBST                          ON FILE
                                                KELSEY HORN                         ON FILE
                                                KEVIN WALDRON                       ON FILE
                                                LANDON CARTER                       ON FILE
                                                LUIS CASILLAS                       ON FILE
                                                MARK AARON HELSER                   ON FILE
                                                MATT WESTERN                        ON FILE
                                                MECCA BUTLER                        ON FILE
                                                MEGAN HOBSON                        ON FILE
                                                MICHAEL ITALIANO                    ON FILE
                                                MICHELLE MONIN                      ON FILE
                                                MIKE MCLOGAN                        ON FILE
                                                NICKET PATEL                        ON FILE
                                                PARKER SIMMONS                      ON FILE
                                                REALYNN M BIRKY                     ON FILE
                                                RICH VANDORT                        ON FILE
                                                ROBERT NELSON                       ON FILE
                                                ROMADELYS CHIRINOS                  ON FILE
                                                SARASWATHI SINDHU MUTHIAH           ON FILE
                                                SCOTT HADLEY                        ON FILE
                                                SHELBY WALTERS                      ON FILE
                                                SIMON POLLAYIL                      ON FILE
                                                SYLWIA KRUPINSKA                    ON FILE
                                                TERESA EARP                         ON FILE
                                                THEE SAENG                          ON FILE
                                                TREVOR THOMPSON                     ON FILE
                                                TROY HUNTER                         ON FILE
                                                VA MOUA                             ON FILE
                                                VANESSA POZO                        ON FILE
                                                VINCENT RUSSELL                     ON FILE
                                                YEVGENY OPALKA                      ON FILE




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